Case 18-24565-TPA Doc 21 Filed 03/14/19 Entered 03/15/19 08:43:33 FILED
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                 IN THE UNITED STATES BANKRUPTCY COURT            3/14/19 3:35 pm
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA          CLERK
                                                                  U.S. BANKRUPTCY
IN RE:                                                            COURT - WDPA

MATTHEW S. FELDMEIER                                   :            Case No. 18-24565 TPA
         Debtor(s)                                     :            Chapter 7
                                                       :
        JEFFREY J. SIKIRICA, ESQ.,                     :
        TRUSTEE                                        :
                     Movant                            :
                                                       :
                 v.                                    :            Related to Document No. 14
                                                       :
        NO RESPONDENT                                  :

                       ORDER APPROVING COUNSEL FOR THE TRUSTEE

             AND NOW, this 14th day of March, 2019, upon consideration of the Application to
Employ Counsel for the Trustee filed at Document No. 14, it is ORDERED, ADJUDGED and DECREED
as follows:

                 (1)    Jeffrey J. Sikirica, Esq. 121 Northbrook Drive, Pine Township, Gibsonia,
Pennsylvania 15044 is hereby appointed, as of the date of filing the Application, as Attorney(s) for Trustee
in this bankruptcy proceeding for the reasons set forth in the Application.

                  (2)     Professional persons or entities performing services in the above case are advised
that approval of fees for professional services will be based not only on the amount involved and the results
accomplished, but other factors as well, including: the time and labor reasonably required by counsel, the
novelty and difficulty of the issues presented, the skill requisite to perform the legal service properly, the
preclusion of other employment due to acceptance of this case, the customary fee, whether the fee is fixed
or contingent, the time limitations imposed by the client or the circumstances, the experience, reputation
and ability of the attorneys involved, the undesirability of the case, the nature and length of the professional
relationship with the client, and, awards in similar cases.

                 (3)     Approval of any motion for appointment of counsel in which certain fees are
requested for various identified professionals is not an agreement by the Court to allow such fees at the
requested hourly rates, and is not a preapproval of compensation pursuant to 11 U.S.C. §328(a). Final
compensation, awarded only after notice and hearing, may be more or less than the requested hourly rates
based on application of the above-mentioned factors in granting approval by Court Order. Any retainer
paid to the Attorney is unaffected by this Order and remains property of the Estate until further order of
Court.

                  (4)    Notwithstanding anything to the contrary in the letter of engagement or agreement
between Movant and the Attorney, this Order does not authorize the Attorney to retain or pay any outside
counsel or other professional to assist Attorney in this matter unless such is done at no expense to Movant,
directly or indirectly. Any other retention of, and payment to, an outside counsel or other professional is
subject to prior approval of the Court.

                 (5)     Movant shall serve the within Order on all interested parties and file a certificate
of service.



                                                   ____________________________________
                                                   Thomas P. Agresti, Judge
                                                   United States Bankruptcy Court
